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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re:

TRIBUNE COMPANY, et al,

Debtors.

Chapter 11

Case No. 08-13141 (KJC)

NOTICE OF FEE APPLICATION

Joseph J. McMahon, Jr., Esquire
Office of the United States Trustee
J. Caleb Boggs Federal Building

844 King Street, Suite 2207, Lockbox 35

Wilmington, DE 19801
(U.S. Trustee)

Kenneth P. Kansa, Esquire
Jillian K. Ludwig, Esquire
Sidley Austin LLP

One South Dearborn Street
Chicago, IL 60603
(Counsel to Debtors)

Donald S. Bernstein, Esquire

James A. Florack, Esquire

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450 Lexington Avenue

New York, NY 10017

(Counsel to Administrative Agent for
Prepetition Lenders, JPMorgan Chase
Bank, N.A.)

Stuart M. Brown, Esquire

Edwards Angell Palmer & Dodge
919 North Market Street, Suite 1500
Wilmington, DE 19801

(Counsel to Barclays Bank PLC)

Howard Seife, Esquire

David M. LeMay, Esquire
Douglas E. Deutsch, Esquire
Chadbourne & Parke LLP

30 Rockefeller Plaza

New York, NY 10112

(Counsel to Creditors’ Committee)

Mark D. Collins, Esquire

Katisha D. Fortune, Esquire
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920 N. King Street

P.O. Box 551

Wilmington, DE 19899-0511
(Counsel to Administrative Agent for
Prepetition Lenders, JPMorgan
Chase Bank, N.A.)

Objection Date: February 11, 2010 at 4:00 p.m.
Hearing Date: February 18, 2010 at 10:00 a.m.

Brian Trust, Esquire

Amit K. Trehan, Esquire

Mayer Brown LLP

1675 Broadway

New York, NY 10019-5820
(Counsel to Barclays Bank PLC)

Adam G. Landis, Esquire
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919 Market Street, Ste. 1800
Wilmington, DE 19801

(Counsel to Creditors’ Committee)

John L, Decker, Esquire
Stuart Maue

3840 McKelvey Rd.

St. Louis, MO 63044
(Fee Auditor)

PLEASE TAKE NOTICE that on January 27, 2010, the Application of Horwood,
Marcus & Berk Chartered for Allowance and Payment of Compensation for Services
Rendered and Reimbursement of Expenses as Tax Counsel to the Debtors in the Ordinary
Course of Business for the Period of September 1, 2009 through September 30, 2009 (the

>

“Application’

the Debtors in the amount of $23,498.00, was filed with the Court.

), which seeks approval of a fee application for professional services rendered to

You are required to file a response, if any, to the Application on or before February 11,

2010 at 4:00 p.m. (Eastern Time).

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At the same time, you must also serve a copy of the response upon movant’s counsel so
that it is received by 4:00 p.m. on February 11, 2010:

Norman L. Pernick, Esquire Kenneth Kansa, Esquire Marilyn Wethekam, Esquire
J. Kate Stickles, Esquire Jillian K. Ludwig, Esquire HORWOOD, MARCUS & BERK
COLE, SCHOTZ, MEISEL, SIDLEY AUSTIN LLP 180 N. LaSalle Street
FORMAN & LEONARD, P.A. One South Dearborn Street Suite 3700

500 Delaware Avenue, Suite 1410 Chicago, IL 60603 Chicago, IL 60601
Wilmington, DE 19801 kkansa@sidley.com

npernick@coleschotz.com

A HEARING ON THE APPLICATION WILL BE HELD ON FEBRUARY 18, 2010
AT 10:00 A.M. BEFORE THE HONORABLE KEVIN J. CAREY, CHIEF USS.
BANKRUPTCY JUDGE, U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
DELAWARE, 824 NORTH MARKET STREET, 5"! FLOOR, WILMINGTON, DELAWARE
19801.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED BY THE APPLICATION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: January 27, 2010 COLE, SCHOTZ, MEISEL,
FORMAN & LEONARD, P.A.

By: lout,

Nogihan L. Pernick (No. 2290)
J. Kate Stickles (No. 2917)

500 Delaware Avenue, Suite 1410
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ATTORNEYS FOR THE DEBTORS
AND DEBTORS IN POSSESSION

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